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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE




           Gametronics LLC,                                           Case No.

                 Plaintiff,                                           Patent Case

                 v.                                                   Jury Trial Demanded

           Voyetra Turtle Beach, Inc.,

                 Defendant.



                                COMPLAINT FOR PATENT INFRINGEMENT

       1.       Plaintiff Gametronics LLC (“Plaintiff”), through its attorneys, complains of

Voyetra Turtle Beach, Inc. (“Defendant”), and alleges the following:

                                                 PARTIES

       2.       Plaintiff Gametronics LLC is a corporation organized and existing under the laws

of Delaware that maintains its principal place of business at 261 West 35th St, Suite 1003, New

York, NY 10001.

       3.       Defendant Voyetra Turtle Beach, Inc. is a corporation organized and existing

under the laws of DE that maintains an established place of business at 44 SOUTH

BROADWAY, 4TH FLOOR, WHITE PLAINS, NY 10601.

                                              JURISDICTION

       4.       This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       5.       This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).
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       6.       This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                    VENUE

       7.       Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

an established place of business in this District. In addition, Defendant has committed acts of

patent infringement in this District, and Plaintiff has suffered harm in this district.

                                              PATENTS-IN-SUIT

       8.       Plaintiff is the assignee of all right, title and interest in United States Patent Nos.

7,262,762; 8,487,872; and 8,614,667 (the “Patents-in-Suit”); including all rights to enforce and

prosecute actions for infringement and to collect damages for all relevant times against infringers

of the Patents-in-Suit. Accordingly, Plaintiff possesses the exclusive right and standing to

prosecute the present action for infringement of the Patents-in-Suit by Defendant.

                                              THE ’762 PATENT

       9.       The ’762 Patent is entitled “PRODUCTION MONITORING DEVICE,

PRODUCTION MONITORING SYSTEM, PRODUCTION MONITORING METHOD AND

PROGRAM,” and issued 2023-04-24. The application leading to the ’762 Patent was filed on

2019-06-03. A true and correct copy of the ’762 Patent is attached hereto as Exhibit 1 and

incorporated herein by reference.

                                              THE ’872 PATENT

       10.      The ’872 Patent is entitled “Apparatus and method for generating data signals,”

and issued 0013-07-16. The application leading to the ’872 Patent was filed on 2005-11-18. A

true and correct copy of the ’872 Patent is attached hereto as Exhibit 2 and incorporated herein

by reference.
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                                             THE ’667 PATENT

       11.      The ’667 Patent is entitled “Apparatus and method for generating data signals,”

and issued 2013-12-24. The application leading to the ’667 Patent was filed on 2006-06-27. A

true and correct copy of the ’667 Patent is attached hereto as Exhibit 3 and incorporated herein

by reference.

                             COUNT 1: INFRINGEMENT OF THE ’762 PATENT

       12.      Plaintiff incorporates the above paragraphs herein by reference.

       13.      Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’762 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’762 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’762 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’762 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       14.      Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’762 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       15.      Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.




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       16.      Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’762 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’762 Patent. See Exhibit 4

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       17.      Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’762 Patent, literally or by the doctrine of equivalents, by selling

Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’762 Patent.

       18.      Exhibit 4 includes charts comparing the Exemplary ’762 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’762 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’762 Patent Claims.

       19.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 4.

       20.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 2: INFRINGEMENT OF THE ’872 PATENT

       21.      Plaintiff incorporates the above paragraphs herein by reference.




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       22.      Direct Infringement. Defendant directly infringed one or more claims of the

’872 Patent in at least this District by making, using, offering to sell, selling and/or importing,

without limitation, at least the Defendant products identified in the charts incorporated into this

Count below (among the “Exemplary Defendant Products”) that infringed at least the exemplary

method claims of the ’872 Patent also identified in the charts incorporated into this Count below

(the “Exemplary ’872 Patent Claims”) literally or by the doctrine of equivalents. On information

and belief, numerous other devices that infringed the claims of the ’872 Patent have been made,

used, sold, imported, and offered for sale by Defendant and/or its customers.

       23.      Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’872 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       24.      Exhibit 5 includes charts comparing the Exemplary ’872 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’872 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’872 Patent Claims.

       25.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 5.

       26.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 3: INFRINGEMENT OF THE ’667 PATENT

       27.      Plaintiff incorporates the above paragraphs herein by reference.

       28.      Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’667 Patent in at least this District by making, using, offering to sell,


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selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’667 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’667 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’667 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       29.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’667 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       30.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       31.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’667 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’667 Patent. See Exhibit 6

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       32.     Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’667 Patent, literally or by the doctrine of equivalents, by selling

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Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’667 Patent.

        33.     Exhibit 6 includes charts comparing the Exemplary ’667 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’667 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’667 Patent Claims.

        34.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 6.

        35.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        36.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’762 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly and indirectly one or more

                claims of the ’762 Patent;

        C.      A judgment that the ’872 Patent is valid and enforceable

        D.      A judgment that Defendant has infringed directly one or more claims of the ’872

                Patent;

        E.      A judgment that the ’667 Patent is valid and enforceable




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       F.     A judgment that Defendant has infringed directly and indirectly one or more

              claims of the ’667 Patent;

       G.     An accounting of all damages not presented at trial;

       H.     A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

              for Defendant's continuing or future infringement, up until the date such judgment

              is entered with respect to the ’762; and ’667 Patents, including pre- or post-

              judgment interest, costs, and disbursements as justified under 35 U.S.C. § 284;

       I.     A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

              for Defendant's past infringement at least with respect to the ’872 Patent.

       J.     And, if necessary, to adequately compensate Plaintiff for Defendant's

              infringement, an accounting:

               i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                    and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                    that it incurs in prosecuting this action;

              ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


Dated: July 18, 2025                   Respectfully submitted,

                                              /s/ Antranig Garibian (DE Bar No. 4962)
                                              Antranig Garibian (DE Bar No. 4962)
                                              Garibian Law Offices, P.C.
                                              1523 Concord Pike, Suite 400
                                              Wilmington, DE 19803
                                              (302) 722-6885
                                              ag@garibianlaw.com
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                                 Isaac Rabicoff
                                 Rabicoff Law LLC
                                 (Pro hac vice application forthcoming)
                                 4311 N Ravenswood Ave Suite 315
                                 Chicago, IL 60613
                                 7736694590
                                 isaac@rabilaw.com


                                 Counsel for Plaintiff
                                 Gametronics LLC




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